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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                            CASE NO: 2:15-CR-173-FtM-38CM

CARLOS EUGENIO PRICE
                                                  /

                                                ORDER1

        This matter comes before the Court on review of the United States of America's

Motion for Stay and Review and Revocation of Order of Release (Doc. #15) filed on

January 27, 2016. Defendant Carlos Eugenio Price filed a Response to the Government's

Motion (Doc. #16) on the same day. This matter is ripe for review.

        Last month, a federal grand jury indicted Defendant of conspiracy to possess with

intent to distribute 500 grams or more of cocaine and possession with intent to distribute

500 grams or more of cocaine in violation of federal law. On January 20, 2016, Defendant

had an initial appearance and arraignment. (Doc. #8). Five days later, United States

Magistrate Judge Carol Mirando held a detention hearing that resulted in an order

releasing Defendant on a $50,000 unsecured appearance bond with his wife as a third-

party custodian. (Doc. #12; Doc. #13). The Government objected to the release bond

and moved for it to be stayed pending an appeal to this Court. Judge Mirando stayed

Defendant's release until the close of business on January 27, 2016, and ordered him to


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remain in the custody of the United States Marshal pending this Court's decision on the

release bond. (Doc. #12).

       As a result, the Government now moves this Court to revoke the order of release

and detain Defendant pending trial. (Doc. #15). Given Defendant's looming release

deadline, the Government also requests that this Court stay Judge Mirando's release

order until it can rule on the merits of the instant motion. (Doc. #15).

       Upon careful consideration, the Court finds good cause to stay the order of

Defendant's release (Doc. #12) until it may review and rule on the bond releasing

Defendant.

       Accordingly, it is now

       ORDERED:

       The United States of America's Motion for Stay and Review and Revocation of

Order of Release (Doc. #15) is GRANTED in part only to the extent that the Release

Bond and Order Setting Conditions of Release (Doc. #13) is STAYED.          The Court

reserves ruling on the Government's remaining requests presented in the instant motion.

       DONE AND ORDERED in Fort Myers, Florida, this 27th day of January, 2016.




Copies: Counsel of Record




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